CaSe 8-18-76327-|38 DOC 13-1 Filed 11/20/18 Entered 11/20/18 09249227

UNITED STATES BANKRUPTCY COURT

EASTERN DISTRICT OF NEW YOR_K

__________________________________________________________ X

In Re; Chapter 7

Christina Cosentino, Case No. 818-76327-845
Debtor.

__________________________________________________________ X

Application in Support of Order Retaining Real Estate Broker

TO: The Honorable Louis A. ScarcellaJ
United States Bankruptcy Judge

The Applioation of l\/laro A. Pergament, Trustee, by his attorneys, Weinberg, Gross
& Pergament LLP, respectfully represents:

1. That Applicant is the Trustee herein, duly qualified and acting as such.

2. The Trustee seeks authority to employ a real estate broker to sell the
Debtor’S real property known as 269 Waldo Street, Copiague, NeW York.

3. It Will be necessary to retain a real estate broker to sell the debtor’s real
property known as 269 Waldo Street, Copiague, NeW York. l

4. Applicant seeks to retain the services of Prerniuni Group Realty LLC as his
exclusive real estate broker to conduct the sale of the above mentioned property, pursuant to the
rules of this Court, and that said real estate brokers be allowed total commission of six (6%) percent
of the selling prioe, if they are the procuring cause of the sale. Premium Group Realty LLC Will be
responsible for marketing and negotiation the short sale With the first mortgagee The broker’s fee
Will be paid t`rorn the collateral of the first mortgagee and the Bankruptcy Estate Will have no

liability for that fee.

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5. That Premiuni Group Realty LLC is experienced and knowledgeable in the
Sale ot` residential real estate.

6. To the best of Applicant’s knowledge, Prernium Group Realty LLC has no
connection or business association with the Debtor, nor does it hold any interest adverse to this
estate, and they are disinterested persons Within the meaning ot` ll U.S.C. Section 101(14) and
327(a).

WHEREFORE, Applicant requests that the Court sign the Order, for Which no

previous application has been made.

  

Dated: Garden City, Nevv York -'
Novernber 19, 2018 /`

 

l\/larc A. Perg-arnent, 'l`rustee

